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                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF DELAWARE

     MAI-AJAH KEEL;                                   §    
                                                      §    
                       Plaintiff,                     §
                                                      §    
                                                      §   Case No.: 1:17-cv-01818-MN-SRF
                                                      §    
     v.                                               §    
                                                      §    
     DELAWARE STATE UNIVERSITY                        §
     BOARD OF TRUSTEES; CANDY                         §
     YOUNG, in her individual capacity;               §
                                                      §
     PAMELA DUFFY, in her individual                  §
     capacity; RANDOLPH JOHNSON, in his               §
     individual capacity; and LEMMY                   §
     KNIGHT, in his individual capacity,              §
                                                      §
                       Defendants.                    §


            OBJECTIONS TO MAGISTRATE REPORT AND RECOMMENDATION


I. INTRODUCTION AND STANDARD OF REVIEW 
    
        Plaintiff filed her Complaint on December 19, 2017, alleging (1) Defendant Delaware

   State University (“DSU”) violated Title IX in the manner in which it responded to her rape by

   another student, Jason Faustin, and subsequent ongoing harassment by Faustin and other

   students, and (2) a claim under § 1983 that several individual administrators violated her

   constitutional right to equal protection. In response, Defendants filed a Rule 12(b)(6) Motion to

   Dismiss Plaintiff’s Complaint (“Motion to Dismiss”). On November 26, 2018, Magistrate Judge

   Fallon issued her Report and Recommendation (“Recommendation”), in which she

   recommended that: (1) Plaintiff’s case was barred by the statute of limitations, (2) Plaintiff failed

   to state a claim for violation of Title IX, (3) Plaintiff failed to state a claim under § 1983, and (4)

   the individual defendants are entitled to qualified immunity. The District Court’s standard of

   review for this matter is de novo. F.R.C.P. 72(b)(3).

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         Plaintiff asks this Court to reconsider Judge Fallon’s Recommendation based on the

following objections:

    II. RECOMMENDATION: PLAINTIFF’S CASE IS BARRED BY THE STATUTE
        OF LIMITATIONS

Objection: A genuine issue of material fact exists as to whether Plaintiff’s Title IX claim

accrued on December 21, 2015, when she graduated from DSU, and she was no longer exposed

to a sexually hostile environment.

         Since the applicability of the statute of limitations usually involves questions of fact for
         the jury,” Van Buskirk v. Carey Can. Mines, Ltd., 760 F.2d 481, 498 (3d Cir. 1985), “if
         the bar is not apparent on the face of the complaint, then it may not afford the basis for a
         dismissal of the complaint under Rule 12(b)(6)[,] Schmidt, 770 F.3d at 249.

Fried v. JP Morgan Chase & Co., 850 F.3d 590, 604 (3d Cir. 2017). Given the factual nature of

a statute of limitations defense, “…defendants bear a heavy burden in seeking to establish as a

matter of law that the challenged claims are barred.” Van Buskirk v. Carey Canadian Mines,

Ltd., 760 F.2d 481, 498 (3d Cir. 1985). Dismissal on a motion to dismiss based on statute of

limitations is generally disfavored. See Rylick v. Digital Sec. Controls, Ltd., 2007 WL 150435,

at *3 (D.N.J. Jan. 16, 2007) (“Indeed, the Third Circuit has indicated that motions to dismiss

under Rule 12(b)(6)…are generally disfavored when they are based on

a statute of limitations defense because the applicability of the statute of limitations often

involves questions of fact for the jury) (internal quotations omitted.)1

         “When a tort involves continuing wrongful conduct, the statute of limitations doesn’t

begin to run until that conduct ends.” Flowers v. Carville, 310 F.3d 1118, 1126 (9th Cir. 2002).

Further, “[t]he doctrine applies where there is no single incident that can fairly or realistically be
                                                       
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  The law in the preceding paragraph was not cited in Plaintiff’s Opposition to Defendant’s Motion to Dismiss, and
therefore was not presented to the Magistrate Judge. However, the additional statements of the law are necessary to
provide context for this Court to evaluate the Magistrate Judge’s drastic decision to dismiss this case on the basis of
the statute of limitations.



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identified as the cause of significant harm.” Id. (internal quotations omitted.) The injury in a

Title IX case is the creation and maintenance of a sexually hostile environment by virtue of an

unreasonable response to a report of sexual misconduct. Davis ex rel. LaShonda D. v. Monroe

Cty. Bd. of Ed., 526 U.S. 629 (1999). Thus, a Title IX claim accrues when the hostile

environment ceases to exist. See Chestang v. Alcorn State Univ., 940 F. Supp. 2d 424, 430 (S.D.

Miss. 2013) (“The hostile environment ceased to exist – and Chestang’s claim accrued – when

Chestang left school in late-summer 2008.”)

         Here, there is no single incident that can reasonably be the basis of Plaintiff’s claim for a

sexually hostile environment. Rather, it was the ongoing failure to reasonably respond to her

rape, ongoing harassment, and the continued presence of her rapist on campus, thus creating and

maintaining a sexually hostile environment on campus, that serves as the basis for liability under

Title IX. The Magistrate Judge based her analysis on a conclusion that Keel could “’continue

her education and feel as though she is matriculating in a safe and secure academic environment’

completing her tenure without Faustin on campus.” (D.I. 19 at 6-7.) This quote comes from

Plaintiff’s complaint, which in turn, quoted a document issued by DSU when it decided to

suspend Faustin. (D.I. 1 at ¶ 38.) Further, the Magistrate concluded that “Keel does not allege

any facts relating to any incident or harm allegedly suffered by her after May 11, 2015 and

through the date of her graduation on December 21, 2015, except for her chance encounter with

Faustin in September 2015.” (D.I. 19 at 7.) However, the Magistrate failed to take into account

Keel’s allegations of DSU’s failures after suspending Faustin and issuing this sanctioning

document.

         After the issuance of this sanctioning document, Keel did not experience a “safe and

secure academic environment” because Faustin was allowed to come back to campus, and was



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actually on campus multiple times. (D.I. 1 at ¶¶ 40-41.) Keel actually encountered Faustin in

September of 2015 in an academic building on campus, while he was supposed to be suspended.

(Id. ¶ 40.) Keel was not informed that Faustin would be on campus, nor was she provided a

police escort, as was required by DSU’s sanction. (Id.) Further, Faustin continued to be allowed

on campus during his suspension. (Id. ¶ 41.) She was similarly never informed of his continued

presence on campus, nor provided a police escort as required. (Id.) In an attempt to get DSU to

abide by its sanctioning requirements, and secure a safe academic environment for herself free

from potential exposure to her supposedly suspended rapist, Keel reported Faustin’s presence on

campus during his suspension to both DSU’s Title IX office and Judicial Affairs office. (Id. ¶

42.) Neither office took responsibility for enforcing the sanctioning requirements and ensuring

that Faustin would not be on campus, or if he was, ensuring that Plaintiff would be informed and

provided a police escort. (Id.) Unsatisfied, Keel reported these violations to DSU’s Police

Sergeant Simmons, who similarly failed to offer to enforce the sanctioning requirements. (Id. ¶

43.) Thus, because of DSU’s wrongful conduct in failing to enforce its sanctioning

requirements, Keel was forced to endure a circumstance in which she could encounter the man

that raped her, and continued to harass her after the rape, on campus at any time. Accordingly,

Keel took it upon herself to avoid areas of campus and lock herself in her room to keep herself

safe. (Id. ¶ 44.)

         These allegations create a question of fact as to whether Keel’s claim accrued on

December 21, 2015, the date she graduated and left campus. A reasonable juror could find that

Keel exhausted all options for ensuring her safety on campus and because of DSU’s wrongful

failure to enforce its sanctioning requirements up until the time she graduated, was forced to

remain in a sexually hostile academic environment. For purposes of Title IX, the hostile



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   environment ceased to exist, and Keel’s claim accrued, on the date she graduated. A factual

   question exists as to whether Keel was exposed to a sexually hostile environment until the date

   she graduated, and therefore, it cannot be said that on its face, Keel’s Complaint is conclusively

   time barred. Defendants have simply not met their heavy burden of establishing a statute of

   limitations defense at the pleading stage. Accordingly, Keel’s claims should not be dismissed on

   a Rule 12 motion to dismiss.

       III. RECOMMENDATION: PLAINTIFF FAILED TO STATE A CLAIM FOR
           VIOLATION OF TITLE IX

   Objection: In support of her claim for violation of Title IX, Keel offered several ways in which a

   reasonable juror could find that DSU acted with deliberate indifference to her report of sexual

   misconduct and ongoing harassment.2 Specifically, she argued that a reasonable fact finder

   could conclude that DSU acted with deliberate indifference to her rape by:


1. Engaging in an unjustifiable delay in investigating and adjudicating Keel’s reports of rape and
   ongoing harassment. Kracunas v. Iona College, 119 F.3d 80, 90 (2d Cir. 1997); see Williams v.
   Bd. of Regents of Univ. Sys. of Georgia, 477 F.3d 1282, 1297 (11th Cir. 2007) (recognizing an
   eleven-month delay in concluding an investigatory process was clearly unreasonable); Doe v. E.
   Haven Bd. of Educ., 200 Fed. Appx. 46 (2d Cir. 2006) (finding that a five-week delay in
   addressing report of sexual assault supported a finding of deliberate indifference); Tubbs v. Stony
   Brook University, 2016 WL 8650463 at *7 (S.D.N.Y. Mar. 4, 2016 (acknowledging that the
   defendant acted with deliberate indifference because, “CSO took over 3 months to complete an
   investigation and hold a disciplinary hearing); Kollaritsch v. Michigan State U. Bd. of Trustees,
   1:15-CV-1191, 2017 WL 6766312, at *6 (W.D. Mich. Nov. 2, 2017) (finding a six month delay
   in investigating and adjudicating reports of sexual misconduct clearly unreasonable); Dawn L. v.
   Greater Johnstown Sch. Dist., 586 F.Supp.2d 232 (W.D. Pa. 2008) (finding deliberate
                                                          
   2
     Several courts have acknowledged that the deliberate indifference inquiry is generally a question of fact, not
   properly disposed of on a motion to dismiss. See Doe v. Forest Hills Sch. Dist., 2015 WL 9906260, at pp. 9-11
   (W.D. Mich. Mar. 31, 2015) (“Deliberate indifference is a fact sensitive inquiry”); Patterson v. Hudson Area Sch.,
   551 F.3d 438, 450 (6th Cir. 2009) (plaintiffs “demonstrated that there is a genuine issue of material fact as to whether
   Hudson’s responses to DP’s reported student-on-student sexual harassment were clearly unreasonable”); Lilah R. ex.
   Rel. Elena A. v. Smith, 2011 WL 2976805, *5 (N.D.Cal. July 22, 2011) (“Generally deliberate indifference is a fact-
   intensive inquiry and is often a question for the jury’s determination”); Doe ex rel. Doe v. Dallas Indep. Sch. Dist.,
   220 F.3d 380, 384 (5th Cir. 2000) (“…determining what constitutes appropriate remedial action…in Title IX cases
   ‘will necessarily depend on the particular facts of the case…’).



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   indifference for a school district’s failure to commence an investigation for four weeks after the
   original complaint); 

2. Coming to an initial, erroneous outcome when adjudicating Plaintiff’s report of rape. Yusuf v.
   Vassar College, 35 F.3d 709, 715 (2d Cir. 1994); Doe v. Miami Univ., 2018 WL 797451, at *8
   (6th Cir. Feb. 9, 2018); 

3. Engaging in a biased and inequitable investigation and adjudicatory process. Doe v. U. of
   Massachusetts-Amherst, 2015 WL 4306521 (D. Mass. July 14, 2015); 

4. Failing to implement and enforce reasonable interim measures for Keel’s protection, and failing
   to implement additional measures when it learned its initial measures were ineffective. Wills v.
   Brown Univ., 184 F.3d 20, 26 (1st Cir. 1999); see Vance v. Spencer County Pub. Sch. Dist., 231
   F.3d 253 at 261 (6th Cir. 2000) (concluding that “[w]here a school district has actual knowledge
   that its efforts to remediate are ineffective, and it continues to use those same methods to no
   avail, such district has failed to act reasonably in light of the known circumstances”); Kelly v.
   Yale U., 2003 WL 1563424 (D. Conn. Mar. 26, 2003); Leader v. Harvard U. Bd. of Overseers,
   2017 WL 1064160, (D. Mass. Mar. 17, 2017); and 

5. Failing to comply with federal requirements for responding to instances of sexual misconduct.
   See Doe v. Forest Hills Sch. Dist., 2015 WL 9906260, at *10 (W.D. Mich. Mar. 31, 2015)
   (“Finally, the school clearly did not comply with Title IX guidance in its
   investigation…Although failure to comply with Title IX guidance does not, on its own,
   constitute deliberate indifference, it is one consideration”) (emphasis in original); Butters v.
   James Madison Univ., 208 F.Supp.3d 745, 757 (W.D. Va. 2016) (recognizing that many courts
   have held that “a school's compliance ... with the [Dear Colleague Letter] can be a factor that the
   court considers”); Doe 1 v. Baylor U., 2017 WL 1831996, at *7 (W.D. Tex. Mar. 7, 2017)
   (“While the Court agrees that a school's failure to comply with certain DOE guidelines generally
   cannot, alone, demonstrate a school's deliberate indifference, it also agrees with numerous courts
   that DOE regulations may still be consulted when assessing the appropriateness of a school's
   response to reports of sexual assault”) (internal citations omitted); Bleiler v. Coll. of Holy Cross,
   2013 WL 4714340, at *5 (D. Mass. Aug. 26, 2013) (noting that Title IX guidance “does not have
   independent force of law but informs this Court's evaluation of whether the College's procedures
   were ‘equitable’”.) 

            In her Recommendation, Judge Fallon did not directly address Plaintiff’s theories of

   deliberate indifference, and their legal bases, outlined above. Instead, Judge Fallon pointed to

   actions DSU did take, and concluded that these actions, “fail to amount to a showing that “an

   official decision” was made “not to remedy the violation.” (D.I. 19 at 9.) However, when

   addressing Plaintiff’s argument that she suffered additional harassment following her report of

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sexual misconduct that went unremedied by DSU, Judge Fallon concluded that schools are not

required to remedy harassment. (Id.) Thus, on the one hand, when DSU did not remedy ongoing

harassment, Plaintiff could not show deliberate indifference based on DSU’s failure to remedy;

however, when DSU took some action to remedy the violation, Plaintiff needed to show that

DSU did not remedy the harassment. This put Plaintiff in an impossible position, and is not the

state of the law interpreting Title IX.

         Rather, as argued in detail in Plaintiff’s Opposition to Defendants’ Motion to Dismiss, a

factual question as to whether a school acted with deliberate indifference is raised by Plaintiff’s

allegations and the legal arguments outlined above. Accordingly, dismissal at the pleading stage,

when all facts and inferences are to be drawn in favor of the plaintiff, is not appropriate.

    IV. RECOMMENDATION: PLAINTIFF DID NOT STATE A CLAIM UNDER § 1983

Objection: Plaintiff’s § 1983 claim is founded on the individual Defendants’ own actions

amounting to deliberate indifference. An educational institution and/or its administrators violate

a student’s constitutional right to equal protection when it or they act with deliberate indifference

to her claim of peer sexual harassment. DiStiso v. Cook, 691 F.3d 226, 240 (2d Cir. 2012);

Williams v. Port Huron Sch. Dist., 455 Fed. App’x 612 (6th Cir. 2012); Shivley v. Green Local

School Dist. Bd. Of Educ., 2014 WL 4211100 (Aug, 27, 2014). Here, Plaintiff’s allegations raise

a question of fact as to whether the named individual Defendants acted with deliberate

indifference.

         With respect to Defendant Candy Young, DSU’s Title IX Coordinator, Keel alleged that

Young, (1) failed to offer any accommodations, including a no-contact order, to Keel after Keel

reported her rape and ongoing harassment by Faustin and others (D.I. 1, ¶ 26); and (2) failed to

enforce the sanctioning requirements that Keel be informed when Faustin would be back on



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campus, and be provided a police escort when Faustin was back on campus, when Keel reported

that Faustin was actually on campus several times despite being suspended. (Id. ¶ 42.)

         With respect to Defendant Paula Duffy, DSU’s Director of the Office of Judicial Affairs,

similarly failed to enforce the aforementioned sanctioning requirements when Keel reported to

her that Faustin was actually on campus several times despite his suspension. (Id.) Finally, with

respect to Defendant Randolph Johnson, DSU’s Director of Bands, Keel alleged that Johnson

retaliated against Keel for reporting her rape and ongoing harassment (Id. ¶ 32.)

         These allegations raise a question of fact as to whether the individual Defendants acted

with deliberate indifference, in violation of Keel’s constitutional right to equal protection.

Accordingly, dismissal on a Rule 12 motion to dismiss is not appropriate.

    V. RECOMMENDATION: THE INDIVIDUAL DEFENDANTS ARE ENTITLED TO
       QUALIFIED IMMUNITY

Objection: In determining whether a government official is entitled to qualified immunity, a

court must determine (1) whether the facts alleged establish the violation of a constitutional

right, and (2) whether such right was clearly established at the time of the alleged violation.

Stoudemire v. Mich. Dep’t of Corr., 705 F.3d 560, 567 (6th Cir. 2013).

         As argued at length in Plaintiff’s Opposition, and as detailed above, Keel has alleged

facts that establish the violation of her right to equal protection by virtue of the individual

Defendants’ deliberate indifference to her report of rape and ongoing harassment. Moreover, the

right to be free from gender based discrimination, in the form of freedom from a sexually hostile

environment, was clearly established at the time of the violation. Title IX, which explicitly

prohibited gender discrimination in educational institutions, was enacted in 1972. Further, the

Department of Education, which was vested by Congress with the authority to interpret and

implement Title IX, has promulgated several regulations and guidance documents, over the last


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approximately forty years, that inform educational institutions about the right to be free from a

sexually hostile environment. Further, by 1999, education administrators would have known that

deliberate indifference to claims of peer harassment violates Title IX. Davis ex rel. LaShonda D.

v. Monroe Cty. Bd. of Ed., 526 U.S. 629 (1999).

         Thus, the individual Defendants are not entitled to qualified immunity.

    VI. CONCLUSION

    For the foregoing reasons, Plaintiff respectfully requests that this Court reject Judge Fallon’s

Recommendations, and allow Plaintiff’s claims to be fully litigated.

Dated: December 10, 2018                      Respectfully submitted,

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